Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF CALIFORNIA

Case number (if known)                                                      Chapter       7
                                                                                                                          � Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Beamreach Solar, Inc.

2.   All other names debtor        Soltaix LC
     used in the last 8 years      Soltaix, Inc.
                                   Solexel, Inc.
     Include any assumed
     names, trade names and        Solexel International
     doing business as names       Solexel GmbH
                                   Solexel (M) SDN. BHD.
                                   Beachreach Solar, Inc.

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1530 McCarthy Blvd.
                                  Milpitas, CA 95035
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Santa Clara                                                     Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.beamreachsolar.com


6.   Type of debtor               �   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                  � Partnership (excluding LLP)
                                  � Other. Specify:




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          Name



7.   Describe debtor's business        A. Check one:
                                       �   Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                       �   Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                       �   Railroad (as defined in 11 U.S.C. § 101(44))
                                       �   Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                       �   Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                       �   Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                       �   None of the above

                                       B. Check all that apply
                                       � Tax-exempt entity (as described in 26 U.S.C. §501)
                                       � Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                       � Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                3359

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                    �   Chapter 7
                                       � Chapter 9
                                       � Chapter 11. Check all that apply:
                                                        � Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                           � The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                           � A plan is being filed with this petition.
                                                           � Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                           � The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                           � The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                       � Chapter 12


9.   Were prior bankruptcy             � No.
     cases filed by or against
     the debtor within the last 8      � Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                  When                               Case number
                                                District                                  When                               Case number


10. Are any bankruptcy cases
    pending or being filed by a
                                       � No
    business partner or an             � Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                     Debtor                                                                   Relationship
                                                District                                  When                           Case number, if known




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         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                �      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                �      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or      � No
    have possession of any
    real property or personal   � Yes.    Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                  Why does the property need immediate attention? (Check all that apply.)

                                          � It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                                       Contains hazardous chemicals related to the manufacturing of solar PV
                                             What is the hazard?       cells.
                                          � It needs to be physically secured or protected from the weather.
                                          � It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).

                                          � Other         Hazardous waste permits with the City of Milpitas and Santa Clara County.
                                                                            1530 McCarthy Blvd.
                                          Where is the property?            Milpitas, CA, 95035-0000
                                                                            Number, Street, City, State & ZIP Code
                                          Is the property insured?
                                          � No
                                          � Yes.        Insurance agency    Travelers Insurance
                                                        Contact name        David Liebes
                                                        Phone               650/393-2008


         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                        � Funds will be available for distribution to unsecured creditors.
                                        � After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of         � 1-49                                          � 1,000-5,000                              � 25,001-50,000
    creditors                   � 50-99                                                                                    � 50,001-100,000
                                                                                � 5001-10,000
                                � 100-199                                       � 10,001-25,000                            � More than100,000
                                � 200-999

15. Estimated Assets            � $0 - $50,000                                  � $1,000,001 - $10 million                 � $500,000,001 - $1 billion
                                � $50,001 - $100,000                            � $10,000,001 - $50     million            � $1,000,000,001 - $10 billion
                                � $100,001 - $500,000                           � $50,000,001 - $100 million               � $10,000,000,001 - $50 billion
                                � $500,001 - $1 million                         � $100,000,001 - $500 million              � More than $50 billion

16. Estimated liabilities       � $0 - $50,000                                  � $1,000,001 - $10 million                 � $500,000,001 - $1 billion
                                � $50,001 - $100,000                            � $10,000,001 - $50 million                � $1,000,000,001 - $10 billion
                                � $100,001 - $500,000                           � $50,000,001 - $100 million               � $10,000,000,001 - $50 billion
                                � $500,001 - $1 million                         � $100,000,001 - $500 million              � More than $50 billion




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          Name




          Request for Relief, Declaration, and Signatures


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
            imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                 The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                  I have been authorized to file this petition on behalf of the debtor.

                                  I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                  I declare under penally of perjury that the foregoing is true and correct.

                                  Executed on   411

                              X________________________                                                        Marinus Jacobus Adrianus Kerstens
                                  SI?6Ti[horized representative of debtor                                      Printed name

                                  Title Chief Executive Officer




18. Signature of                                                                                                Date
                                                                                                                         oth        /of7
                                                                                                                         MM I’DTJ / YY

                                  John D. Fiero
                                  Printed name

                                  Pachuiski Stang Ziehl & Jones LLP
                                  Firm name

                                  150 California Street
                                  San Francisco, CA 94111-4500
                                  Number, Street, City, State & ZIP Code


                                  Contact phone      415-263-7000                   Email address         jfiero@pszjlaw.com


                                   CA 136557
                                   Bar number and State




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                               PRIVILEGED AND CONFIDENTIAL

                  MINUTES OF A SPECIAL TELEPHONIC MEETING
                        OF THE BOARD OF DIRECTORS
                                     OF
                           BEAMREACH SOLAR, INC.

DATE:                              January 25, 2017

TIME:                              12:00 p.m.

PLACE:                             Via teleconference

DIRECTORS PRESENT:                 Reyad Fezzani
                                   Mark Kerstens
                                   Mehrdad Moslehi
                                   Jan van Dokkum
                                   Greg Williams
                                   Michael Wingert
DIRECTORS ABSENT:                  None
OTHERS PRESENT:                    Andrew De Camara (of Sherwood Partners, Inc.)
                                   John Fiero (of Pachulski, Stang, Ziehl and Jones LLP)
                                   Mark Porter (of Fenwick & West LLP)
                                   Morgan Sawchuk (of Fenwick & West LLP)
                                   Sayre Stevick (of Fenwick & West LLP)

1.     Call to Order

        Mr. Kerstens called to order a meeting of the Board of Directors (the “Board”) of
Beamreach Solar, Inc., a Delaware corporation (the “Company”), and announced that a quorum
of directors was present and that the meeting, having been duly convened, was ready to proceed
with its business. All members of the Board had received notice of the meeting in accordance
with the Company’s bylaws or waived such notice. At the outset of the meeting all of the persons
noted above were present. Mr. Kerstens confirmed that each person participating in the meeting
could hear and be heard by every other person participating in the meeting. Ms. Sawchuk acted
as Secretary of the meeting and kept its minutes. Mr. Kerstens reviewed the agenda for the
meeting and gave an update to the Board, including for the purpose of the Board obtaining
advice of counsel present.

2.




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6.




7.     Bankruptcy and Stakeholder Communications




       The Board then discussed the necessity of filing a voluntary petition under the provisions
of Chapter 7 of Title 11 of the United States Code (the “Bankruptcy Code”), subject to the
Board’s continuing right to delay, suspend or abandon such filing at any time before its


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completion if and as necessary to review and consider the viability of a proposal to continue the
sales process as a going concern, to fund a Chapter 11 bankruptcy filing or otherwise pursue a
purchase transaction of the Company’s assets, in each case as would prove satisfactory to the
Company’s senior lender, Opus Bank. Following a motion duly made and seconded, the Board
unanimously approved the following recitals and resolutions:

              WHEREAS, the Board has considered the financial and operational
              conditions of the Company’s business.

              WHEREAS, the Board has reviewed the historical performance of the
              Company, the market for the Company’s products and services, and the
              current and long-term liabilities of the Company.

              WHEREAS, the Board has reviewed the Company’s cash needs, the
              extent of available cash and the probability of execution of all existing
              proposals to continue operations as a going concern or to fund an orderly
              liquidation.

              WHEREAS, the Board has reviewed, considered, and received the
              recommendations of the senior management of the Company and the
              advice of the Company’s professionals and advisors with respect to
              potential avenues for relief that are available to the Board, upon behalf of
              the Company, including the possibility of pursuing a restructuring that
              contemplated an orderly liquidation of the Debtors’ business and assets
              under Chapter 7 of the Bankruptcy Code.

              WHEREAS, the Board has reviewed, considered, and received the
              recommendations of the senior management of the Company and the
              advice of the Company’s professionals and advisors with respect to the
              possibility for success in pursuing an orderly liquidation, in light of (i) the
              cash needs of the Company needed to continue operations and to pursue
              the orderly liquidation of substantially all of the Company’s assets as a
              going concern in a commercially reasonable manner under the
              circumstances; (ii) the unavailability of financing with probability of
              execution by the Company’s pre-petition secured lenders or stockholders
              and the unavailability of other sufficient financing with probability of
              execution in the event that the Company pursued an orderly liquidation
              outside of bankruptcy proceedings under Chapter 7 of the Bankruptcy
              Code; and (iii) the inability of the Company to generate cash or otherwise
              fund operations while operating as a debtor and debtor in possession in
              Chapter 11 in order to achieve an orderly liquidation.

              WHEREAS, the Board has reviewed, considered, and received the
              recommendations of the senior management of the Company and the
              advice of the Company’s professionals and advisors that the Company
              does not have a reasonable possibility of success in effectuating such an
              orderly liquidation, because the Company would have insufficient cash

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           and/or financing with which to continue operations through the time that
           the Board reasonably believes would be required to effectuate a sale or
           sales of substantially all of the Company’s assets, or a substantial portion
           thereof, as a going concern, and because the Board was unable to
           determine to its reasonable satisfaction that the Company could meet all of
           its post-petition liabilities.

           NOW, THEREFORE, BE IT RESOLVED, that, in the business
           judgment of the Board after consideration of the alternatives presented to
           it and the recommendations of senior management of the Company and
           the advice of the Company’s professionals and advisors, that it is in the
           best interests of this Company, its creditors, stockholders and other
           interested parties, that a voluntary petition be filed by the Company under
           the provisions of Chapter 7 of the Bankruptcy Code.

           RESOLVED FURTHER, that the officers of the Company be, and they
           hereby are, authorized to execute and file on behalf of the Company all
           petitions, schedules, lists and other papers or documents, and to take any
           and all action which they deem necessary or proper to obtain such relief.

           RESOLVED FURTHER, that the officers of the Company be, and they
           hereby are, authorized and directed to employ the law firm of Pachulski
           Stang Ziehl & Jones LLP as general bankruptcy counsel.

           RESOLVED FURTHER, that any of the officers of the Company are
           authorized, empowered and directed to take any and all further action and
           to execute and deliver any and all such further instruments and documents
           and to pay all such expenses (subject to Bankruptcy Court approval),
           where necessary or appropriate in order to carry out fully the intent and
           accomplish the purposes of the resolutions adopted herein.

           RESOLVED FURTHER, that all actions taken by the officers of the
           Company prior to the date hereof in connection with the possible
           reorganization and/or liquidation of the Company or any matters related
           thereto, or by virtue of these resolutions, are hereby in all aspects ratified,
           confirmed, and approved.

           RESOLVED FURTHER, that, notwithstanding anything to the
           foregoing, the Board hereby reserves its right to suspend, delay or
           abandon any or all efforts or activities relating to the herein approved
           Chapter 7 bankruptcy if, prior to the filing of the voluntary petition by the
           Company under the provisions of Chapter 7 of the Bankruptcy Code, the
           Board determines it is necessary to do so in order to consider or pursue a
           proposal for an orderly liquidation that will prove satisfactory to the
           Company’s secured creditors.



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8.




9.    Adjournment

       There being no further business to come before the meeting, upon motion made,
seconded and unanimously passed, the meeting was duly adjourned at approximately 1:15 p.m.



                                                    Morgan Sawchuk, Secretary of the Meeting




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